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 4
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 6
 7                UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,              )       CASE NO. 03-5323 OWW
                                            )
11         Plaintiff,                       )       ORDER AFTER HEARING
                                            )       REGARDING TERMINATION
12                                          )       OF PROBATION UPON
                  v.                        )       INDUCTION INTO THE ARMY
13                                          )
                                            )
14                                          )
     JOHN ROBERT KIDDER,                    )
15                                          )
           Defendant.                       )
16                                          )
17         Upon motion made by Defendant JOHN ROBERT KIDDER, a hearing was
18   held October 17, 2005 at 1:30 p.m. Present for the defendant was his attorney,
19   KATHERINE HART. Present for the Office of the United States Attorney was
20   Assistant United States Attorney Sherrill A. Carvalho. Present for the Office of the
21   United States Probation Department was Thomas Brown, United States Probation
22   Officer, Sacramento, California.
23         GOOD CAUSE APPEARING, it is hereby ordered as follows:
24                That the Term of Supervised Release by the United States
25         Probation Office shall terminate upon payment of the balance due
26         for restitution and upon acceptance by the army of JOHN
27
28                                              1
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 1        ROBERT KIDDER for a tour of duty of thirty-six months;
 2              That should JOHN ROBERT KIDDER not report for duty
 3        or should JOHN ROBERT KIDDER leave the army prior to the
 4        expiration of his thirty-six month tour of duty for any reason
 5        under his own control, supervised release shall resume and he
 6        shall be readmitted to complete his term of supervised release
 7        with the United States Probation Office.
 8
 9   IT IS SO ORDERED.
10                                      /s/ OLIVER W. WANGER
11   DATED: October 25 , 2005
                                        OLIVER W. WANGER, Judge of the
12                                      Eastern District, Federal District Court
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